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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

      v.                                       Case No. 23-mj-08005

MOHAMMED CHOWDHURY

                     DEFENDANT’S
     MOTION TO CONTINUE PRELIMINARY AND DETENTION
                       HEARING

      Defendant Mohammed Chowdhury moves to continue the Preliminary

and Detention Hearing, which is scheduled for January 20, 2023, to two

weeks. In support thereof, defendant says as follows:

      1. The defendant was arrested and had his Initial Appearance on

           January 17, 2023.

      2. A Preliminary and Detention Hearing is currently scheduled for

           January 20, 2023, at 2:00pm.

      3. The defense seeks additional time to prepare a release plan. More

           specifically, the defendant has learned of a potential third-party

           custodian, and requires time to provide the information to the

           Court.

      4. Defendant requests that the Court continue the Preliminary and

           Detention Hearing for two weeks, to a date convenient to the Court

           and the parties.




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      5. I have contacted AUSA’s Luke Goldworm and John Dawley

          regarding this request. They have assented to a continuance under

          the condition that the delayed hearing would proceed by proffer.

          The defendant requests a live witness. The government has

          informed me that they are answering ready with a witness today.




                                                MOHAMMED CHOWDHURY.
                                                         By his attorney,


                                                               Dated: 1/20/2023
                                                          /s/ Aziza Hawthorne
                                                              Aziza Hawthorne
                                                                          Fellow
                                                        Federal Defender Office
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                            Certificate of Service

       I hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as
non-registered participants on January 20, 2023


                                        /s/ Aziza Hawthorne
                                            Aziza Hawthorne




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